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                           Exhibit A
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    I.      Facts to Be Deemed Established

            Plaintiffs respectfully request that the following facts be established for purposes

    of this action:

            1.        Defendant Ray was a writer for The Daily Stormer from at least July 2016

    through at least March 2020.

            2.        Defendant Ray entered into an agreement with one or more coconspirators

    to plan the Unite the Right event that took place in Charlottesville, Virginia on August 11

    and 12, 2017.

            3.        Defendant Ray entered into an agreement with one or more coconspirators

    to engage in racially motivated violence in Charlottesville, Virginia on August 11, 2017.

            4.        Defendant Ray entered into an agreement with one or more coconspirators

    to engage in racially motivated violence at the Unite the Right event in Charlottesville,

    Virginia on August 12, 2017.

            5.        Defendant Ray was motivated by animus against racial minorities, Jewish

    people, and their supporters when conspiring to engage in acts of intimidation and violence

    on August 11 and 12, 2017, in Charlottesville, Virginia.

            6.        It was reasonably foreseeable to Defendant Ray and intended by him that

    coconspirators would commit acts of racially motivated violence and intimidation at the

    torchlight event in Charlottesville, Virginia on August 11, 2017.

            7.        It was reasonably foreseeable to Defendant Ray and intended by him that

    coconspirators would commit acts of racially motivated violence and intimidation at the

    Unite the Right event in Charlottesville, Virginia on August 12, 2017.
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           8.      It was reasonably foreseeable to Defendant Ray and intended by him that a

    coconspirator would engage in racially motivated violence by intentionally driving a car

    into a crowd of counter-protestors on August 12, 2017.

           9.      Defendant Ray committed multiple overt acts in furtherance of the

    conspiracy he entered into to commit racially motivated violence at the Unite the Right

    event in Charlottesville, Virginia on August 12, 2017.

           10.     Defendant Ray attended the torchlight march on August 11, 2017, and

    committed acts of intimidation and violence in furtherance of the conspiracy.

           11.     Defendant Ray attended the Unite the Right event on August 12, 2017 and

    committed acts of intimidation and violence in furtherance of the conspiracy.

           12.     After the Unite the Right event in Charlottesville, Virginia on August 11

    and 12, 2017, Defendant Ray ratified the racially motivated violence that occurred at Unite

    the Right.

    II.    Documents to Be Deemed Authentic

           Plaintiffs respectfully request that all documents Plaintiffs have a good-faith basis

    to believe were in fact created by Defendant Ray be deemed “authentic” for purposes of

    satisfying Rule 901 of the Federal Rules of Evidence. In particular, Plaintiffs have a good-

    faith basis to believe that the following social media accounts, identified by the platform

    name, followed by the handle (or username), belong to Defendant Ray.              Plaintiffs

    respectfully request that all documents, photographs, and videos from the following social

    media accounts be deemed “authentic” for purposes of satisfying Rule 901 of the Federal

    Rule of Evidence:

           1.      Discord - Azzmador

           2.      Discord - Azzmador 6970
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           3.      Skype - azzmador.returns

           4.      Twitter - The Azzmador

           5.      Twitter - Azzmador1488

           6.      Gab.ai - Azzmador

           7.      The Krypto Report - Azzmador

           8.      The Daily Stormer – Azzmador

           Plaintiffs additionally request that any photographs or videos that Plaintiffs have a

    good-faith basis to believe were either taken by Ray, or depict Ray, be deemed “authentic”

    for purposes of satisfying Rule 901 of the Federal Rules of Evidence.
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